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                                                     FILED,
                                              U.S. DISTRCT COURT
                 UNITED STATES DISTRICT COURT    SAVANHAH DIV.

                SOUTHERN DISTRICT OF GEORGIA                                         PM 3:08
                           SAVANNAH DIVISION
                                                                         SO. DIST.    GA.

JAVIER MURILLO-SOLIS,                  )



     Movant,                           )



V.                                     )           Case No. CV415-314
                                       )                    CR413-121
UNITED STATES OF AMERICA,              )



     Respondent.                       )




                                   ORDER

      Let a copy of this Report and Recommendation be served upon counsel for
the parties. Any objections to this Report and Recommendation must be filed with
the Clerk of Court not later than December 14, 2015. The Clerk shall submit this
Report and Recommendation together with any objections to the Honorable Lisa
Godbey Wood, Chief Judge, on December 15, 2015. Failure to file an objection
within the specified time means that this Report and Recommendation may
become the opinion and order of the Court, Nettles v. Wainwright, 677 F.2d 404
(5th Cir. 1982), and further waives the right to appeal the District Court's Order,
Thomas v. Am, 474 U.S. 140 (1985).
      All requests for additional time to file objections to this Report and
Recommendation should be filed with the Clerk for consideration by the District
Judge to whom this case is assigned.
      SO ORDERED this 30th day of November, 2015.
                                                       • .---...
                                                    UNITED 'rArEs MAGLSTRATE JUDGE
                                                    SOUTHFARN DISTRICT OF GEORGIA
